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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION

  MAGNOLIA ISLAND PLANTATION        §                  CIVIL ACTION NO: 5:18-cv-01526
  L.L.C. and BARBARA MARIE CAREY    §
  LOLLAR                            §
               Plaintiffs           §
                                    §
  VS                                §                  CHIEF JUDGE S. MAURICE HICKS, JR.
                                    §
  LUCKY FAMILY, L.L.C., W.A. LUCKY, §
  III, and BOSSIER PARISH SHERIFF   §
  JULIAN C. WHITTINGTON             §
                                    §                  MAGISTRATE JUDGE KAYLA D.
                                    §                  McCLUSKY

              Defendants              §     Jury Trial Demanded
  ______________________________________________________________________________

        BARBARA LOLLAR’S MOTION FOR PARTIAL SUMMARY JUDGMENT



                                                  1.

         Now into Court, through undersigned counsel, comes plaintiff Barbara Marie Carey Lollar

  (“Mrs. Lollar”), who respectfully move for partial summary judgment against defendants W.A.

  Lucky III (“Mr. Lucky”), Lucky Family, L.L.C., and Bossier Parish Sheriff Julian C. Whittington

  (the “Sheriff”) on the following grounds.

                                                  2.

         After a devolutive appeal, Mrs. Lollar is the prevailing party in a lawsuit filed against her

  by Mr. Lucky (“Lucky I”).

                                                  3.




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          During the pendency of the appeal in Lucky I, Mr. Lucky – by and through the Sheriff -

  seized and purported to sell a single asset belonging to Mrs. Lollar: a promissory note in the amount

  of $1,730,000.00 payable to Mrs. Lollar (the “Note”).

                                                   4.

          Mrs. Lollar’s $1,730,000 Note was purported to be sold by the Sheriff to Lucky Family,

  L.L.C. for $105,000.

                                                   5.

          Consistent with Louisiana law, Mr. Lucky and Mrs. Lollar hired their own appraisers to

  provide valuations of the property to be sold at the Sheriff’s sale: the Note.

                                                   6.

          The parties’ respective appraisals differed by more than $250,000.00 and the lower

  appraisal was not ninety percent of the higher valuation. As a result, La. R.S. 13:4365(B) required

  the Sheriff to select a third appraiser, whose appraisal would be definitive for the opening bid of

  the Sheriff’s sale.

                                                   7.

          The Sheriff failed to appoint a third appraiser, in violation of his duty under La. R.S.

  13:4365(B).

                                                   8.

          Because the Sheriff did not appoint a third appraiser, no statutorily-authorized third

  appraisal was made.

                                                   9.

          The sale was not conducted in conformance with the required statutory procedure and

  should be annulled.



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                                                  10.

         Accompanying this Motion is a Memorandum in Support as well as a Statement of Material

  Facts As To Which There Is No Genuine Issue To Be Tried.

                                                  11.

         For the foregoing reasons, the undisputed material facts entitle Mrs. Lollar to judgment

  holding that the Bossier Parish Sheriff failed its duty under La. R.S. 13:4365 to appoint a third

  appraiser, and further holding that the October 24, 2018 Sheriff’s sale of the Note is annulled.




                                                        Respectfully submitted by,

                                                        ____/s/ Andrew D. Martin ____________
                                                        Randall S. Davidson, LSBA No. 4715, TA
                                                        J. Davis Powell, LSBA 33631
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                                   CERTIFICATE OF SERVICE




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         I HEREBY CERTIFY that a copy of the above and foregoing was filed electronically with

  the Clerk of Court using the CM/ECF filing system, and notice of the same will be sent to all

  counsel of record by operation of the court’s electronic noticing system.

         Shreveport, Louisiana, on this 2nd day of November, 2022.

                                                              s/ Andrew D. Martin
                                                               OF COUNSEL




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